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                                                                             CLERK US DISTRICT COURT
                                                                          SOUTHERN DISTRICT OF CALIFORNIA
                                                                          BY                      DEPUTY

                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA

                                                        CASE NO. 16CR27-BEN
UNITED STATES OF AMERICA,
                Plaintiff                               JUDGMENT AND ORDER OF DISMISSAL OF
               VS.                                      INFORMATION, EXONERATE BOND AND
                                                        RELEASE OF PASSPORT
YOLANDA MONET JIMENEZ
              Defendant

       Upon motion of the UNITED STATES OF AMERICA and good cause appearing,

       IT IS SO ORDERED that the information in the above-entitled case be dismissed with

prejudice, the bond be exonerated, and passport released by Pretrial if held.

       IT IS SO ORDERED.

       DATED: 2/1/17




                                              HONORABLE MITCHELL D. DEMBIN
                                              United States Magistrate Judge
